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                       EXHIBIT A
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      8742 Lucent Blvd, Suite 300, Highlands Ranch CO 80129
                                                                     000742

          FTTAADADAAFFATDFDTFAFFTFFTATTDFAFDTDDAFATAADDTTDTDFTTDFFADFAADAAT
          MARK K MACRIS
          CATHERINE M MACRIS
          403 TEAKWOOD TER
          AMHERST, NY 14221-3935
                                                                                                                                                      04/09/2014




    RE:         Transfer of Loan Servicing
                Specialized Loan           2479
                403 TEAKWOOD TER
                AMHERST, NY 14221


                                                               NOTICE OF SERVICING TRANSFER
    The servicing of your Mortgage Loan has been transferred, effective 04/01/2014. This means that after this date, a new servicer, will be
    collecting your mortgage loan payments from you. No other terms of your Note and Mortgage will change.

    Bank of America is now collecting your payments. Bank of America will stop accepting payments received from you after 3/31/2014.

    Specialized Loan Servicing LLC ("SLS") will collect your payments going forward. SLS will start accepting payments received from you on
    04/01/2014.

    Send all payments due on or after 04/01/2014 to Specialized Loan Servicing LLC at this address: P.O. Box 105219, Atlanta, GA
    30348-5219.

    If you have any questions for either your present servicer, Bank of America or your new servicer, SLS, about your Mortgage Loan or this
    transfer, please contact them using the information below:

                                     Prior Servicer                                                                 New Servicer
    Bank of America                                                                  Specialized Loan Servicing LLC
    Customer Service Department                                                      Customer Care Department
    (800)669-6607                                                                    1-800-315-4757
    P.O. Box 5170                                                                    8742 Lucent Blvd., Suite 300
    Simi Valley, CA 93062                                                            Highlands Ranch, CO 80129
    Important note about insurance: If you have mortgage life or disability insurance or any other type of optional insurance, the transfer
    of servicing rights may affect your insurance in the following way: SLS does not currently offer life insurance or disability insurance. If
    you were previously enrolled in this service, it will no longer be part of your monthly payment. You should contact your provider to
    arrange for direct payment or cancellation of these services.




                                                          8742 Lucent Blvd, Suite 300, Highlands Ranch, CO 80129
                                                                Direct 1-800-315-4757 Fax 1-720-241-7218

                01PZFE      WEL2.1                                                                                  142SL0016.WEL2.1.9SLS3.SE.142SL    792_80/000742/002291
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    Under Federal law, during the 60-day period following the effective date of the transfer of the loan servicing, a loan payment received by
    your old servicer on or before its due date may not be treated by the new servicer as late, and a late fee may not be imposed on you.
    Sincerely,
    Specialized Loan Servicing LLC
                                                 PLEASE SEE IMPORTANT NOTICES BELOW.


    IMPORTANT NOTICES:
    THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
    OBTAINED WILL BE USED FOR THAT PURPOSE.
    BANKRUPTCY NOTICE - IF YOU ARE A CUSTOMER IN BANKRUPTCY OR A CUSTOMER WHO HAS RECEIVED A BANKRUPTCY
    DISCHARGE OF THIS DEBT: PLEASE BE ADVISED THAT THIS NOTICE IS TO ADVISE YOU OF THE STATUS OF YOUR MORTGAGE
    LOAN. THIS NOTICE CONSTITUTES NEITHER A DEMAND FOR PAYMENT NOR A NOTICE OF PERSONAL LIABILITY TO ANY
    RECIPIENT HEREOF, WHO MIGHT HAVE RECEIVED A DISCHARGE OF SUCH DEBT IN ACCORDANCE WITH APPLICABLE
    BANKRUPTCY LAWS OR WHO MIGHT BE SUBJECT TO THE AUTOMATIC STAY OF SECTION 362 OF THE UNITED STATES
    BANKRUPTCY CODE. HOWEVER, IT MAY BE A NOTICE OF POSSIBLE ENFORCEMENT OF THE LIEN AGAINST THE
    COLLATERAL PROPERTY, WHICH HAS NOT BEEN DISCHARGED IN YOUR BANKRUPTCY. IF YOU HAVE QUESTIONS, PLEASE
    CONTACT US AT 1-800-306-6057.
    Monthly Automatic Payment Drafting – Specialized Loan Servicing LLC is pleased to offer this service. Simply contact our Customer
    Service department at 1-800-315-4757. If you previously arranged with your prior servicer to have your monthly mortgage payment drafted
    from your bank account, that service was automatically discontinued when your loan was transferred to Specialized Loan Servicing LLC.
    If you would like to continue to have your monthly mortgage payment drafted from your bank account, you must enroll with Specialized Loan
    Servicing LLC in order to take advantage of this service for your future payments.
    End of Year Statements – Every year, in January we will send you an accounting of your loan for the previous calendar year along with a
    statement of taxes and interest paid for income taxes purposes. Please be sure to keep us advised of any change in your mailing address.




                                                  8742 Lucent Blvd, Suite 300, Highlands Ranch, CO 80129
                                                        Direct 1-800-315-4757 Fax 1-720-241-7218
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